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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §   CRIMINAL ACTION NO. C-12-418-2
                                            §
ALEJANDRO GARZA; aka GARZA                  §
ALEX


 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)   There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(A); and

         (2)   The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.

         The evidence against the defendant is substantial. Although the defendant is a

United States citizen with no criminal history who turned himself in to authorities, he is

alleged to be a leader of a huge marihuana trafficking organization with ties to the

Mexican Gulf Cartel. A search of his home resulted in the discovery of numerous


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firearms, including firearms and ammunition designed to penetrate Kevlar vests. The

defendant was previously arrested for his involvement in a drug trafficking conspiracy

and he was carrying this very firearm within his reach in his vehicle at the time he was

arrested.   The cooperating witnesses in this case fear violence at the hands of the

defendant, and the defendant’s brother has been arrested and confessed to a drug-related

murder. The defendant lied to the pretrial services officer about his travel to Mexico

(twice in the last year), obviously to distance himself from any ties to Mexico. The

defendant stated to pretrial services that he was employed by AJ Steel in Mission, Texas,

a business owned by his sister, but tax and other documents reflect that the business is

owned by the defendant. The court finds these inconsistencies troubling, especially in a

presumption case where the defendant is facing a ten-year minimum mandatory term in

prison. It also appears that the defendant has paid legal fees in the past for some of his

co-conspirators. The court finds that the presumption has not been rebutted.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver




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the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 26th day of June, 2012.


                                         ___________________________________
                                         B. JANICE ELLINGTON
                                         UNITED STATES MAGISTRATE JUDGE




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